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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND

JOAN C. BISHA

              Plaintiff,

V.                                              CIVIL ACTION NUMBER

                                                1:10-cv-01083-JFM

ASSET ACCEPTANCE LLC

Defendant.                                      JUNE 9, 2010


                            NOTICE OF DISSMISSAL

The plaintiff through her attorney Bernard T. Kennedy stipulates that the claims in

the above-entitled action shall be dismissed with prejudice and without costs,

subject to approval of the Court.




                                                THE PLAINTIFF

                                                BY/S/Bernard T. Kennedy
                                                Bernard T. Kennedy, Esquire
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                                  CERTIFICATION

I hereby certify that on 6/9/10 a copy of the foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF System.




BY/S/Bernard T. Kennedy
